Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 1 of 82

EXHIBIT A

WILLIB-0011710-
January 31, 2003 11:06 AM
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)

W.R. GRACE & CO., et al,’ )} Case No. 01-01139 KF)
) Gointly Administered)
)

Debtors. )

Objection Deadline: December 20, 2002 at 4:00 p.m.
Hearing Date: TBD only if necessary

SUMMARY OF APPLICATION OF REED SMITH LLP
FOR COMPENSATION FOR SERVICES AND REIMBURSEMENT OF
EXPENSES AS SPECIAL ASBESTOS PRODUCT LIABILITY DEFENSE
COUNSEL TO DEBTORS FOR THE SIXTEENTH MONTHLY INTERIM PERIOD
FROM OCTOBER 1, 2002 THROUGH OCTOBER 31, 2002

Name of Applicant: Reed Smith LLP

Authorized to Provide Professional Services to: W. R. Grace & Co., et al., Debtors and
Debtors-in-Possession

Date of Retention: July 19, 2001,
effective as of April 2, 2001

Period for which compensation and

reimbursement is sought: October 1, 2002 through October 31, 2002
Amount of Compensation sought as actual,

Reasonable, and necessary: $172,838.75

This an: X monthly _ interim __ final application.

Prior Applications filed: Yes.

The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn., A-1 Bit

& Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc.,
Coalgrace, Inc., Coalgrace II, Inc., Creative Food ®N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (fik/a
Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd.,. GC Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), GC
Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling
Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services
Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures.Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R.
Grace Land Corporation, Gracoal, Inc., Gracoal If, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco
International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc.,
Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation),
MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern.Oil, Resin & Fiberglass, Inc., Water Street
Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.
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No objections

8/28/01 4/2/01 $40,583.00 $356.92 No objections
through served on served on
7/31/01 counsel counsel
9/27/01 8/1/01 $90,113.00 $4,048.11 No objections | No objections
through served on served on
8/31/01 counsel counsel
10/26/01 9/1/01 $155,804.00 $6,971.66 | No objections | No objections
through served on served on
9/30/01 counsel counsel
11/27/01 10/1/01 $229,036.50 $10,314.97 | No objections | No objections
through served on served on
10/31/01 counsel counsel
12/26/01 11/1/01 $216,703.50 $22,667.19 | No objections | No objections
through served on served on
11/30/01 counsel counsel
1/30/02 12/1/01 $152,288.00 $43,025.11 | No objections | No objections
through served on served on
12/31/01 counsel counsel
3/1/02 1/1/02 $152,389.50 $45,525.87 | No objections | No objections
through served on served on
1/31/02 counsel counsel
3/28/02 2/1/02 $115,694.50 $39,388.59 | No objections | No objections
through served on served on
2/28/02 counsel counsel
5/2/02 3/1/02 $95,617.50 $49,224.63 | No objections | No objections
through served on served on
3/31/02 counsel counsel
5/28/02 4/1/02 $125,169.50 $44,498.12 | No objections | No objections
through served on served on
4/30/02 counsel counsel
6/28/02 5/1/02 $186,811.50 $88,641.73 | No objections | No objections
through served on served on
5/31/02 counsel counsel
8/5/02 6/1/02 $167,414.75 $26,462.86 | No objections | No objections
through served on served on
6/30/02 counsel counsel

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9/9/02 7/1/02 $121,203.75 $7,897.17 No objections | No objections
through served on served on
7/31/02 counsel counsel
9/30/02 8/1/02 $183,876.75 $18,631.51 | No objections | No objections
through served on served on
8/31/02 counsel counsel
10/31/02 9/1/02 $205,975.00 $12,810.65 | No objections | No objections
through served on served on
9/30/02 counsel counsel

As indicated above, this is the sixteenth application for monthly interim compensation of services
filed with the Bankruptcy Court in the Chapter 11 Cases.

The total time expended for the preparation of this application is approximately 17 hours, and the
corresponding estimated compensation that will be requested in a future application is
approximately $4,700.00.

The Reed Smith attorneys who rendered professional services in these cases during the Fee

Period are:

James J. Restivo, Jr. Partner 31 Years Litigation $430.00 16.80 $7,224.00
Lawrence E. Flatley Partner 27 Years Litigation $400.00 4.20 $1,680.00
Douglas E. Cameron Partner 18 Years Litigation $385.00 53.50 $20,597.50
James W. Bentz Partner 14 Years Litigation $300.00 70.55 $21,165.00
Traci Sands Rea Associate 7 Years Litigation $265.00 2.60 $689.00
Richard A. Keuler Associate 3 Years . Litigation $240.00 1.30 $312.00
Rosa C. Miller Associate 8 Years Litigation $195.00 4.20 $819.00
Andrew J. Muha Associate 2 Years Litigation $185.00 26.00 $4,810.00

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The paraprofessionals who rendered professional service in these cases during the Fee Period are:

M. Susan Haines Paralegal 28 Years Litigation $150.00 30 $45.00

Maureen L. Atkinson Paralegal 26 Years Litigation $120.00 63.90 $7,668.00

Christine H. Turkaly Paralegal 8 Years Litigation $75.00 19.50 $1,462.50

Bruce Campbell Parapro- 14 Years Litigation $75.00 187.75 $10,081.25
fessional

Eric Gompers Parapro- 2 Years Litigation $75.00 175.50 $13,162.50
fessional

Andrew Kennedy Parapro- 4 Years Litigation $75.00 186.80 $10,010.00
fessional

Caroline Nath Parapro- 1 Year Litigation $75.00 191.50 $14,362.50
fessional

Jamie Paulen Parapro- 1 Year Litigation $75.00 175.00 $13,125.00
fessional

Ryan Peterson Parapro- 1 Year Litigation $75.00 180.00 $13,500.00
fessional

Anana Rice Parapro- 2 Years Litigation $75.00 138.50 $10,387.50
fessional

Joan Turner Parapro- 18 Years Litigation $75.00 140.00 $10,500.00
fessional

John B. Lord Paralegal 10 Years Litigation $145.00 8.60 $1,247.00

Karen Hindman Lit. Support }| 2 Years Litigation $110.00 18.10 $1,991.00

Total Fees: $172,838.75
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COMPENSATION BY PROJECT CATEGORY

Project Category Total Hours Total Fees
Litigation and Litigation 64.10 $18,068.50
Counseling
ZAI Science Trial 1,580.90 $151.045.25
Hearings 2.10 $760.00
Fee Applications 17.50 $2,965.00
Total: 1,664.60 $172,838.75

EXPENSE SUMMARY
Description Litigation and Litigation ZAI Science Trial
Consulting

Telephone Expense $31.08 $2.23
Telephone Expense - Outside $36.35 --
Duplicating/Printing $474.55 $146.55
Outside Duplicating $1,309.47 $25,443.70
Postage Expense $18.74 $5.55
Express Mail $46.13 --
Courier Service $555.00 $32.84
Documentation Charge $105.40 —-
Lodging $168.46 --
Air Travel Expense $496.50 --
Taxi Expense $202.00 --
Mileage Expense $21.90 $16.04
Meal Expense $360.26 $11.44
Secretarial Overtime -- $4,897.50
Transportation -- $3.00
SUBTOTAL $3,825.84 $30,558.85

TOTAL $34,384.69

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Dated: November 29, 2002

REED SMITH LLP

/s/ Richard A. Keuler, Jr.

Richard A. Keuler, Jr. (No. 4108)
1201 Market Street, Suite 1500
Wilmington, DE 19801
Telephone: (302) 778-7500
Facsimile: (302) 778-7575
E-mail: rkeuler@reedsmith.com

and

James J. Restivo, Jr., Esquire
Lawrence E. Flatley, Esquire
Douglas E. Cameron, Esquire
435 Sixth Avenue
Pittsburgh, PA 15219
Telephone: (412) 288-3131
Facsimile: (412) 288-3063

Special Asbestos Products Liability Defense
Counsel
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REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074 _
Tax ID# XX-XXXXXXX

W.R Grace & Co. Invoice Number
One Town Center Road Invoice Date
Boca Raton, FL 33486 Client Number

Re: W. R. Grace & Co.

(60026) Litigation and Litigation Consulting

Fees 18,068.50

TOTAL BALANCE DUE UPON RECEIPT

987226
11/25/02
172573

$ 18,068.50
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REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax ID# XX-XXXXXXX

W.R Grace & Co. Invoice Number 987226
One Town Center Road Invoice Date 11/25/02
Boca Raton, FL 33486 Client Number 172573

Matter Number 60026

Re: (60026) Litigation and Litigation Consulting

FOR PROFESSIONAL SERVICES PROVIDED THROUGH OCTOBER 31, 2002

Date Name , Hours

10/01/02 Bentz Review of news articles regarding 1.30
Grace, Libby and ZAI.

10/01/02 Cameron Reviewing and organizing materials 3.10
from Millette deposition in
Atlanta (1.7); Telephone call with
R. Finke regarding status of open
pre-trial issues in cost recovery
action (.3); Prepare for meeting
with R. J. Lee regarding cost
recovery action trial testimony
(1.1).

10/03/02 Cameron Prepare for meeting with expert 3.90
witness in cost recovery action
(1.8); Participate in portion of
meeting with Grace in-house
counsel, counsel from HRO and
expert witness regarding cost
recovery action strategy issues
(2.1).

10/04/02 Cameron Prepare for and meet with expert 7.00
witness, R. Finke and HRO lawyers
regarding trial preparation for
testimony in cost recovery action
(6.5); Review documents supplied
by expert witness at meeting (.5).

10/04/02 Flatley D. Cameron e-mail re: H. 1.90
Eschenbach deposition in cost
recovery action (.10); preliminary
review of H. Eschenbach transcript
from cost recovery case (1.70);
172573 W. R. Grace & Co.

November 25,

Date

10/06/02

10/07/02

10/08/02

10/09/02

10/09/02

10/14/02

10/15/02

10/15/02

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Name

Cameron

Muha

Cameron

Bentz

Cameron

Cameron

Cameron

Rossi

2002

Invoice Number
60026 Litigation and Litigation Consulting Page

e-mail to R. Finke re same (.10).

Review materials from last week's
meeting for summary memo to
in-house counsel.

Review Grace docket filings for
cost recovery and fraudulent
conveyance actions (7/02 to
present).

Review Rich Lee cost recovery
action work and meeting notes for
upcoming conference call with
expert.

Review of news articles regarding
Grace.

Telephone call with R. Finke and
review of e-mail relating to
meetings and conference call with
expert witness for EPA cost
recovery action trial preparation
(.7); Review expert witness
materials for conference call
regarding same (.8).

Review motion to exclude R. J. Lee
testimony in cost recovery action
(.6); Telephone call with R. Finke
regarding same (.3); Review
materials from HRO regarding Rich
Lee preparation meeting and follow
up conference calls (.7).

Review materials in preparation
for conference call with expert
witness in preparation for cost
recovery action trial testimony
(1.2); Review motion to exclude R.
Jd. Lee testimony in cost recovery
action, and research materials
from other cases for draft
response (1.4).

Memo re: CD from HRO containing
coded microfilm images of
documents for cost-recovery action.

2

80

-90

29

2.60

-10

987226
172573 W.

10/16/02

10/16/02

10/16/02

10/17/02

10/17/02

10/17/02

10/18/02

10/19/02

10/21/02

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R. Grace & Co.

Cameron

Restivo

Rossi

Cameron

K. Hindman

Restivo

Cameron

Cameron

Restivo

Invoice Number
60026 Litigation and Litigation Consulting Page
November 25, 2002

Prepare for and participate in
lengthy telephone conference with
expert witness in cost recovery
action concerning trial testimony
preparation (2.3); Review e-mail
and attached materials from HRO
regarding outlines for next day's
expert witness trial preparation
conference call (1.3).

Review and comment on expert
materials of Anderson, Lee,
Hughson, Whitehouse, Miller in
cost recovery action.

Muiti memos re: loading of HRO
microfilm CD of documents for
cost-recovery action.

Prepare for and participate in
second day conference call with
cost recovery action expert
witness regarding trial testimony
preparation and related issues.

Converted an Access database
received from HRO to text and
imported 2,121 into the WR Grace
Test Load 2 database for use in

relation with cost recovery action.

Continuing review of expert
submissions in cost-recovery
action.

Prepare memo regarding open issues
in EPA cost recovery action expert
preparation.

Review R. J. Lee (expert)
materials for follow-up
discussions with HRO concerning

trial prep in cost recovery action.

Finish review of experts' reports
filed in cost recovery action.

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-20

-30

-90

1.00

987226
172573 W. R. Grace & Co.

November 25,

Date

10/21/02

10/22/02

10/23/02

10/24/02

10/25/02

10/28/02

10/28/02

10/30/02

10/30/02

10/31/02

10/31/02

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Name

Turkaly

Turkaly

Turkaly

Turkaly

Bentz

Cameron

Turkaly

Bentz

Turkaly

Bentz

Cameron

2002

Invoice Number
60026 Litigation and Litigation Consulting Page

Review and organize case file
materials and prepare index for
same for litigation support in
cost recovery action.

Review and organize case file
materials and prepare index for
same for litigation support in
cost recovery action.

Review and organize case file
materials and prepare index for
same for litigation support in
cost recovery action.

Review and organize case file
materials and prepare index for
same for litigation support in
cost recovery action.

Review of opinion excluding
evidence under Daubert.

Review draft response to Motion to
Exclude R. J. Lee in cost recovery
action and comment (1.2); Review
materials for potential trial
exhibits in cost recovery action

(.4).

Review and organize case file
materials and prepare index for
same for litigation support in
cost recovery action.

Review of various news articles
regarding Grace.

Review and organize case file
materials and prepare index for
same for litigation support in
cost recovery action.

Reviewing and summarizing various
news articles regarding Grace.

Review and provide comments to HRO
draft Opposition to Motion for
Summary Judgement in Cost Recovery
Action.

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987226
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172573 W. R. Grace & Co.

60026 Litigation and Litigation Consulting

November 25, 2002

Date Name

10/31/02 Turkaly

James J. Restivo Jr.
Lawrence E. Flatley
Douglas E. Cameron

James W Bentz

Andrew J. Muha

Martha Susan Haines Rossi
Christine H. Turkaly
Karen Hindman

Invoice Number 987226

Page 5

Review and organize case file

materials and prepare index for
same for litigation support in
cost recovery action.

Hours Rate
4.50 at $ 430.00
1.90 at $ 400.00

32.20 at $ 385.00
3.80 at $ 300.00
1.60 at $ 185.00

30 at $ 150.00

19.50 at $ 75.00

30 at $ 110.00

CURRENT FEES

TOTAL HOURS

TOTAL BALANCE DUE UPON

12,397.00
1,140.00
296.00
45.00
1,462.50
33.00

RECEIPT

18,068.50
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REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax ID# XX-XXXXXXX

W. R. Grace
5400 Broken Sound Blivd., N.W.
Boca Raton, FL 33487

Re: W. R. Grace & Co.

(60028) ZAI Science Trial

Fees

TOTAL

Invoice Number 987224

Invoice Date 11/25/02

Client Number 172573
151,045.25

BALANCE DUE UPON RECEIPT $§ 151,045.25
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REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax ID# XX-XXXXXXX

W. R. Grace Invoice Number 987224
5400 Broken Sound Blvd., N.W. Invoice Date 11/25/02
Boca Raton, FL 33487 Client Number 172573

Matter Number 60028

Re: (60028) ZAI Science Trial
FOR PROFESSIONAL SERVICES PROVIDED THROUGH OCTOBER 31, 2002

Date Name Hours

09/30/02 Campbell Attorney work-product review, 8.00
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

09/30/02 Gompers Attorney work-product review, 8.00
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

09/30/02 Kennedy Attorney work-product review, 8.00
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

09/30/02 Nath Attorney work-product review, 8.00
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

09/30/02 Paulen Attorney work-product review, 8.00
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.
172573 W.

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R. Grace & Co.

60028 ZAI Science Trial
November 25, 2002

09/30/02

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09/30/02

09/30/02

10/01/02

10/01/02

10/01/02

10/01/02

10/01/02

10/01/02

Peterson

Rice

Turner

Bentz

Cameron

Campbell

Gompers

Kennedy

Muha

Invoice Number
Page 2

Attorney work-product review, 8.00

organization and coding of

decuments for production in EPA
cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 2.00

organization and coding of

documents for production in EPA
cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00

organization and coding of

documents for production in EPA
cost recovery and ZAI Science

Trial matters.

Work on electronic document

production for Science Trial.

Review materials relating to

expert witness issues for science
trial (.8); Review materials from
potential consultant for upcoming

meeting (.5).

Attorney work-product review, 7.50

organization and coding of

documents for production in EPA
cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00

organization and coding of

documents for production in EPA
cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00

organization and coding of

documents for production in EPA
cost recovery and ZAI Science

Trial matters.

Meet with J. Bentz to discuss -40
requirements for and status of ZAI
science trial document production.

987224
172573 W.

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R. Grace & Co.

60028 ZAI Science Trial
November 25, 2002

Date

10/01/02

10/01/02

10/01/02

10/01/02

10/02/02

10/02/02

10/02/02

10/02/02

10/02/02

Name

Paulen

Peterson

Restivo

Bentz

Cameron

Campbell

Gompers

Kennedy

Invoice Number

Page

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Meeting re: production of ZAI
Science Trial documents.

Corresponding with ZAT claimants’
counsel regarding document
production in ZAI Science Trial
(.6); corresponding with K.
Hindman on status of document
production and open issues (.5).

Telephone call with W. Sparks

regarding ZAI Science Trial budget

issues and e-mail regarding same.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work~product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

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R. Grace & Co.

60028 ZAT Science Trial
November 25, 2002

10/02/02

10/02/02

10/02/02

10/02/02

10/02/02

10/03/02

10/03/02

10/03/02

Nath

Paulen

Peterson

Turner

Atkinson

Bentz

Campbell

Invoice Number

Page

Meet with paraprofessionals re:
document review and coding project
status and answer questions (0.9);
attend to ZAI Science Trial budget
issues (0.2).

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Meet with paraprofessionals re:
review of documents for production
of attic insulation documents
(.3); organizing coding summaries

(.3).

Corresponding with ZAI claimants!
counsel regarding document
production (0.3); work on document
production to ZAI claimants (1.0).

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

4

-60

8.00

987224
172573 W. R. Grace & Co.
60028 ZAI Science Trial
November 25,

10/03/02

10/03/02

10/03/02

10/03/02

10/03/02

10/03/02

10/03/02

10/03/02

Case 01-01139-AMC

Gompers

K. Hindman

Kennedy

Muha

Nath

Paulen

Peterson

Rice

2002

Invoice Number

Page

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Created a Test Merge database and
imported the corrected data from
On-Site Sourcing for use in
connection with Science Trial
document production.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Review paraprofessionals'
work-product on document coding
project and identify issues and
questions re: same.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

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172573 W.

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R. Grace & Co.

60028 ZAI Science Trial
November 25, 2002

10/03/02

10/04/02

10/04/02

10/04/02

10/04/02

10/04/02

10/04/02

10/04/02

10/04/02

Turner

Atkinson

Bentz

Bentz

Bentz

Campbell

Gompers

Kennedy

Muha

Invoice Number

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Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Meeting with J. Bentz, K. Hindman
re: logistical issues for
automated Science Trial document
production (.3); supervision of
paraprofessionals and organizing
summaries for use in review of
documents (.5).

Review of documents to be produced
in Science Trial.

Corresponding with claimants’
counsel regarding document
production in Science Trial.

Meeting with K. Hindman and M.
Atkinson regarding document
production in Science Trial.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Complete review of
paraprofessionals' work-product on
document coding work-product
(2.6); draft memo to
paraprofessionals regarding
additional guidelines for coding

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project (1.4); attention to
additional issues regarding
paraprofessionals' work-product
document coding project (0.6).

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
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Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA

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Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Review of correspondence from ZAI
claimants' counsel regarding
discovery (.2); work on document

production for Science Trial (.9).

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of

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documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Created a new Summation database
for the Lason Production set for
ZAT Science Trial, and load data
and images into litigation
database, with attention to
performing maintenance checks and
searching for missing data.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work~product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

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organization and coding of
documents for production in EPA
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Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
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Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
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Corresponding with ZAI claimants!
counsel regarding document
production and discovery (.9).
work on Science Trial document
production (1.2).

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Develop Summation database for the
Lason Production set for ZAI
Science Trial, and load data and
images into litigation database,
with attention to performing
maintenance checks and searching
for missing data.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
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Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Reviewing documents to draft
privilege log re: production of
attic insulation documents (.9);
arrange for coding of privilege
information from review of
documents for production (.6).

Review of privilege log to be
provided with Science Trial
document production (.5);
corresponding with claimants'
counsel regarding document
production (.7).

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Work on Summation database for the
Lason Production set for ZATI
Science Trial, and load data and
images into litigation database,
with attention to performing
maintenance checks and searching
for missing data.

Attorney work-product review,
organization and coding of
documents for production in EPA

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organization and coding of
documents for production in EPA
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documents for production in EPA
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Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Searches on Summation database to
determine number of documents with
substantive indexing information,
in connection with request for
production of documents in Science
Trial (.6); supervision of
paraprofessionals including
organizing summaries prepared in
connection with review of
documents (.8).

Conference with ZAI claimants'
counsel (.2); meeting with K.
Hindman regarding electronic
production of documents (.3);
conference with Grace regarding
various discovery issues in
Science Trial (.3); conference
with M. Murphy of Casner & Edwards
regarding Science Trial document
production in Colorado (.3);
preparation of letter to ZAI
claimants' counsel explaining

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document production and access to
database (1.4).

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organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAT Science
Trial matters.

Work on Summation database for the
Lason Production set for ZAI
Science Trial, and load data and
images into litigation database,
with attention to performing
maintenance checks and searching
for missing data.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

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organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
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organization and coding of

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documents for production in EPA
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Trial matters.

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organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Drafting log of privileged
documents re: production of attic
insulation documents.

Meeting with K. Hindman regarding
electronic production of documents
in Science Trial (.9); letter to
ZAI claimants' counsel explaining
document production (1.1); review
of potentially privileged
documents (.9).

Investigating documents produced
in Maryland Casualty litigation
and letter regarding same.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Work on Summation database for the
Lason Production set for ZAT
Science Trial, and load data and
images into litigation database,
with attention to performing
maintenance checks and searching
for missing data.

Attorney work-product review,
organization and coding of
documents for production in EPA
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10/11/02 Peterson

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Trial matters.

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documents for production in EPA
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Trial matters.

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organization and coding of
documents for production in EPA
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Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Preparing summaries for
paraprofessionals' review in
connection with production of
attic insulation documents (1.3);
queries in Summation database for
privileged attic documents and
printing, review of these
documents (1.2); proofreading,
revising privilege log for attic
insulation documents (.5).

Finalizing log of attic documents
withheld from production on basis
of attorney-client privilege
and/or attorney work product,

including review, with notes to Jd.

Bentz as to documents with coding
errors and which should be

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6.50

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produced.

Reviewing, printing additional 1.90
documents re: privilege log (.2);
training of paraprofessionals in

review of documents for production

(.8); reviewing and organizing

summaries relating to

paraprofessionals' review of

documents for production (.9).

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.10
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

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Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

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Attorney work-product review, 8.00
organization and coding of

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Attorney work-product review, 8.00
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10/15/02 Cameron

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organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Reviewing pleadings files, 2.00
notebooks re: Motion In

Limine/responses in Science Trial
litigation regarding Dr. Lee

testimony (.8); prepare summaries

for paraprofessionals' review of
documents for production (1.2).

Corresponding with plaintiff's 3.05
counsel regarding various

discovery issues in Science Trial

(.75); researching various

discovery issues raised by ZAI

claimants, including issues re:

Grace document production to the

EPA (2.3).

Review materials from consultants 1.70
for conference call with R. Finke

(.9); Review document review and
production issues to respond to

ZAI claimants' counsel (.8).

Attorney work-product review, 8.25
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

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Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.50
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Respond to discovery issues in 1.00
Science Trial proceeding.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Preparation of documents and 2.00
database for production to ZAI
claimants in Science Trial.

Organizing documents reviewed by -60
paraprofessionals for interim

storage pending further use as

part of document production and

trial preparation.

Reviewing, circulating and 5.20
preparing response to ZAT

claimants' second set of

interrogatories and requests for
production (2.3); drafting

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response to several letters from
claimants’ counsel regarding
various discovery issues (1.5);
conference call with counsel for
claimants and our respective
technology personnel on electronic
production of documents and
preparation for call (.9);
conference with J. Restivo
regarding September 23rd hearing,
October 28th hearing and status of
discovery (.5).

Review summary of transcript from
hearing regarding scope of
discovery in Science Trial (.5);
Review correspondence and new
discovery from ZAI claimant's
counsel (.8).

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

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organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

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organization and coding of
documents for production in EPA
cost recovery and ZAI Science
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Revisions to privilege log for
attic insulation production, per
J. Bentz's corrections (.4);
preparing summary sheets for
paraprofessionals' use in review
of documents (0.6); meeting with
J. Restivo to discuss status of
review (1.3).Searches on Summation
and e-mail to J. Bentz re:
progress on review of attic
documents for production(.60).

Reviewing privileged documents and
revising privilege log (2.1);
conference with R. Murphy
regarding document production at
Winthrop Square (.25); conference
with R. Finke regarding possible
compromises of discovery disputes
(.3); work on responses to second
set of interrogatories and
requests for production of
documents (.9); letter responding
to claimants' counsel regarding
various discovery issues (.45).

Review and revise draft response
to discovery inquiries from ZAI
claimants counsel.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

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documents for production in EPA
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organization and coding of
documents for preduction in EPA
cost recovery and ZAI Science
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Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Meeting with and supervision of
document coding team for work on

Science Trial document production

project.

Attorney work-product review,
organization and coding of
decuments for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Letter to claimants' counsel
regarding various outstanding
discovery issues (.9); review of
potentially privileged documents

and reviewing log (1.0); review of

correspondence regarding

outstanding discovery issues (.4).

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Review e-mails and correspondence 1.50
relating to document production

and discovery issue in Science

Trial (.5); Prepare comments and

response to same (.8); Meet with

J. Bentz regarding open issues

with respect to discovery

requiring my attention (.2).

Attorney work-product review, 7.00
organization and coding of

documents for production in EPA

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Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

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Attorney work-product review, 6.50
organization and coding of

documents for production in EPA

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Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

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Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

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Attorney work-product review, 7.50
organization and coding of

documents for production in EPA

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Reviewing and organizing documents 1.80
not printed from database/reviewed

by coding group, for preparation

of documents for Science Trial

document production.

Revisions to privilege log re: 3.00
October 11, 2002 production of

attic insulation documents, and

reviewing documents which are not
privileged and/or not ZAI

documents (1.2).

Reviewing and revising log of 2.90
privileged documents (.8);
conferences with K. Hindman and
review of correspondence with ZAI
claimants' counsel's office
regarding electronic production of
documents (.9); corresponding with
Grace legal department regarding
responses to newly served
discovery requests (.7); review of
information potentially responsive
to discovery requests (.5).

Review new Science Trial discovery -50
and prepare for conference call.

Attorney work-product review, 8.00
organization and coding of .

documents for production in EPA

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Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

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organization and coding of

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Trial matters.

Attorney work-product review, 8.00
organization and coding of

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documents for production in EPA
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organization and coding of
documents for production in EPA
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Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Reviewing coding/summaries re:

privileged medical, workers comp.

documents re: production of ZAI
documents.

Letter to ZAI claimants' counsel

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3.60

regarding privileged documents log

(.3); obtaining information from
various sources responsive to ZAT
claimants second set of discovery

requests (3.3).

Attorney work~product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA

8.00

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172573 W.

Case 01-01139-AMC

R. Grace & Co.

60028 ZAI Science Trial
November 25, 2002

10/22/02

10/22/02

10/22/02

10/22/02

10/22/02

10/22/02

10/22/02

10/23/02

10/23/02

Muha

Nath

Paulen

Peterson

Restivo

Rice

Turner

Atkinson

Bentz

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Page 24

cost recovery and ZAI Science
Trial matters.

Search for subset of documents for 1.60
preparation for Science Trial

document production conference

call.

Attorney work-product review, 7.50
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 7.50
organization and coding of

decuments for production in EPA

cost recovery and ZAI Science

Trial matters.

Review newly received materials, 1.00
e-mails, reports relating to
Science Trial issues.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 7.50
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Reviewing database for 1.10
medical/confidential and workers'
comp. documents.

Conference call regarding 5.60
information for responses to
second set of discovery requests

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Case 01-01139-AMC

R. Grace & Co.

60028 ZAI Science Trial
November 25, 2002

Date

10/23/02

10/23/02

10/23/02

10/23/02

10/23/02

10/23/02

10/23/02

10/23/02

Name

Cameron

Campbell

Flatley

Gompers

Kennedy

Nath

Paulen

Peterson

Invoice Number

Page

(1.5); collecting information and
documentation responsive to
discovery requests (2.1); work on
ongoing electronic production of
documents (2.0).

Telephone call with L. Flatley
regarding discovery issues raised
in Science Trial (.4); Review new
discovery and telephone call with
R. Finke regarding same. (.5).

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Conference call re: Science Trial
discovery requests and responses
with W. Sparks, R. Finke, B.
Murphy, M. Murphy, and J. Bentz.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of

a5

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R. Grace & Co.

60028 ZAT Science Trial
November 25, 2002

Date

10/23/02

10/23/02

10/24/02

10/24/02

10/24/02

10/24/02

10/24/02

10/24/02

Name

Rice

Turner

Atkinson

Atkinson

Bentz

Cameron

Campbell

Flatley

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documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Review of Summation database re:
medical/confidential and workers
comp. documents.

Summation database searches and
information to J. Bentz in
response to 10/23/02 fax from Mr.
Westbrook concerning attic
documents produced.

Conference regarding responses to
second set of discovery requests
(1.0); work on responses to second
set of discovery requests (.75);
researching document production
issues and responding to
Claimants' counsel questions
regarding electronic production of
documents (2.0); review of
searches (.5).

Review new correspondence from ZAI
claimants' counsel regarding
discovery issues.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Call with W. Sparks re: witness
issues for ZAI Science Trial

e Number
26

7.50

-70

-40

8.00

-40

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60028 ZAI Science Trial
November 25, 2002

Date Name

10/24/02 Gompers

10/24/02 Kennedy

10/24/02 Nath

10/24/02 Paulen

10/24/02 Peterson

10/24/02 Turner

10/25/02 Atkinson

Invoice Number

Page

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(.30); with J. Bentz re: discovery

issues relating to Grace
representative (.10).

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
erganization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work~-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Reviewing Summation database and
documents for medical
confidential/other personal
confidential and for privileged
documents in preparation for
production of attic documents
(1.4); reviewing Summation

database and organizing documents

relating to certain Grace

8.20

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R. Grace & Co.

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November 25, 2002

Date

10/25/02

10/25/02

10/25/02

10/25/02

10/25/02

10/25/02

10/25/02

10/25/02

Name

Bentz

Cameron

Campbell

Kennedy

Nath

Paulen

Peterson

Rice

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Page 28

representatives (6.1); reviewing
and organizing summaries for
paraprofessionals' review in
document production project (.7)

Review of documents for 75
information responsive to ZAI
claimants' discovery requests.

Telephone call with R. Finke 1.70
regarding expert witness issues

for ZAI Science Trial (.6); Review
attorney work product document

review materials (.7); E-mails

regarding historical testing

issues (.4).

Attorney work-product review, 6.50
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 7.20
erganization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 4.00
organization and coding of

decuments for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 5.00
organization and coding of

decuments for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

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172573 W. R. Grace & Co.
60028 ZAI Science Trial
November 25,

Date Name

10/27/02 Atkinson

10/27/02 Cameron

10/28/02 Atkinson

10/28/02 Bentz

10/28/02 Cameron

10/28/02 Campbell

Invoice Number

Page

documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Reviewing additional documents re:

particular Grace representatives
and organizing for J. Bentz's
review (2.3); reviewing Summation
database re: privileged documents
in connection with production of
documents (1.4).

Review material for Science Trial
strategy meeting in Pittsburgh
(.9); Review correspondence
relating to discovery disputes
(.6).

Meeting with J. Bentz re: status
of review and production of attic
insulation documents and searches
on Summation database in
preparation for meeting (.2);
reviewing documents re: privilege
(2.2); summation searches for
testing documents for Science
Trial work-product (1.1); meeting
with T. Rea to review potential
testing documents (0.4).

Review of historical Grace
documents regarding particular
Grace representatives (3.5);
letter to W. Sparks regarding
document review (.4); preparation
of responses to ZAI Claimants'
second set of interrogatories and
second request for production of
documents (2.7).

Begin memo regarding strategy
meeting and consultant issues for
ZAT Science Trial (.8); Review
materials received from R. Finke
regarding same (.6).

Attorney work-product review,
organization and coding of
documents for production in EPA

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R. Grace & Co.

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November 25, 2002

Date

10/28/02

10/28/02

10/28/02

10/28/02

10/28/02

10/28/02

10/28/02

10/28/02

Name

Gompers

Kennedy

Nath

Paulen

Peterson

Rea

Rice

Turner

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cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of .
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAT Science
Trial matters.

Met with M. Atkinson re: search
for testing documents for Science
Trial work-product preparation.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

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172573 W. R. Grace & Co.
60028 ZAI Science Trial

November 25,

2002

10/29/02

10/29/02

10/29/02

10/29/02

10/29/02

10/29/02

10/29/02

10/29/02

Atkinson

Bentz

Cameron

Campbell

Kennedy

Nath

Peterson

Restivo

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Reviewing documents on Summation 4.80
database re: privileged documents

and revising coding where

necessary (3.4); drafting

privilege log of documents to

withhold from production in

Science Trial (1.4).

Investigation of facts and 3.10
documents in preparation of

response to Claimants' Second Set

of Discovery Requests (2.5);
correspondence with Claimants’

counsel regarding outstanding

discovery issues (.6).

Prepare agenda for strategy 1.70
meeting and e-mail regarding same

(.9); Review correspondence

regarding discovery disputes and

comment (.8).

Attorney work-product review, 8.25
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Review new material received on 1.50
discovery issues in Science Trial
proceedings.
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172573 W. R. Grace & Co.
60028 ZAI Science Trial
November 25, 2002

Date Name

10/29/02 Rice

10/29/02 Turner

10/30/02 Atkinson

10/30/02 Atkinson

10/30/02 Bentz

10/30/02 Cameron

10/30/02 Campbell

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Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Reviewing Summation database re:
testing documents, and copies to
T. Rea (.7); reviewing Summation
database re: privileged documents
in preparation for Science Trial

document production (1.9); adding

to and revising privilege log re:
attic insulation documents (.9).

Reviewing Summation database re:
summaries and copies to
paraprofessionals for review
(1.8); supervision of
paraprofessionals re: review of
documents (.9).

Conference with M. Murphy
regarding production of documents
from repository (.5);
corresponding with R. Finke
regarding discovery responses
(.5); researching information

responsive to second request for

production and second set of
interrogatories (1.9); review of
correspondence from Claimants!
counsel regarding discovery
requests (.3).

Revise agenda and review expert

witness materials in preparation
for 10/31 meeting (1.4); Review

new correspondence regarding

additional discovery dispute (.4).

Attorney work-product review,
organization and coding of

32

1.80

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R. Grace & Co.

60028 ZAI Science Trial
November 25, 2002

10/30/02

10/30/02

10/30/02

10/30/02

10/30/02

10/30/02

10/30/02

10/31/02

Gompers

Kennedy

Nath

Paulen

Peterson

Rea

Rice

Atkinson

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documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Reviewed documents relating to
testing issues.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters’

Reviewing documents on Summation
re: privileged documents (1.6);
arrangements for coding
information from
paraprofessionals' review of
documents (.4); summaries to

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172573 W. R. Grace & Co.
60028 ZAI Science Trial
November 25, 2002

Date Name

10/31/02 Bentz

10/31/02 Cameron

10/31/02 Campbell

10/31/02 Gompers

10/31/02 Kennedy

10/31/02 Miller

Invoice Number

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paraprofessionals for review of
documents (.4).

Attending portions of planning and
strategy meeting regarding
discovery, pre-trial proceedings,
experts and expected motions with
R. Finke, J. Restivo, D. Cameron
and A. Muha (3.0); review of
correspondence from claimants'
counsel regarding discovery issues
(.8); discuss various discovery
issues with R. Pinke (.6).

Prepare for and chair/attend
portions of meeting with R. Finke
and (for parts of meeting) J.
Restivo, J. Bentz, and A. Muha
regarding ZAI Science Trial
strategy (3.5); Meet with R. Finke
after meeting regarding follow-up
issues (.8).

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Attorney work-product review,
organization and coding of
documents for production in EPA
cost recovery and ZAI Science
Trial matters.

Initial research regarding
elements of proof for an asbestos
injury claim(3.80) .Instruction
from J. Restivo to research case
law regarding the necessary
elements of proof needed by a
plaintiff to establish an
asbestos-related injury(.40).

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R. Grace & Co.

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November 25, 2002

Date

10/31/02

10/31/02

10/31/02

10/31/02

10/31/02

10/31/02

James J.

Name

Nath

Paulen

Peterson

Restivo

Rice

Restivo Jr.

Lawrence E. Flatley
Douglas E. Cameron
James W Bentz
Andrew J. Muha

Traci Sands Rea

Rosa Copeland Miller
Maureen L. Atkinson

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Page 35

Attend various portions of 3.10
strategy and planning meeting for

ZAI Science Trial with members of

Reed Smith's Grace team and R.

Finke, Grace in-house counsel.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

Preparation for (3.5) and 6.30
chair/attend portions of ZAI

Science Trial planning meeting

(2.8).

Attorney work-product review, 8.00
organization and coding of

documents for production in EPA

cost recovery and ZAI Science

Trial matters.

TOTAL HOURS 1580.90

Hours Rate Value
11.30 at $§ 430.00 «= 4,859.00
2.30 at § 400.00 = 920.00
21.30 at $ 385.00 = 8,200.50
65.65 at § 300.00 = 19,695.00
16.80 at § 185.00 = 3,108.00
2.60 at §$§ 265.00 = 689.00
4.20 at § 195.00 = 819.00
63.90 at $ 120.00 = 7,668.00

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Karen Hindman
Bruce Campbell
Eric Gompers
Andrew Kennedy
Caroline Nath
Jamie Paulen
Ryan Peterson
Anana Rice
Joan Turner

17.80
187.75
175.50
186.80
191.50
175.00
180.00
138.50
140.00

at
at
at
at
at
at
at
at
at

$ 110.00
$ 75.00
$ 75.00
$ 75.00
$ 75.00
$ 75.00
$ 75.00
$ 75.00
$ 75.00

CURRENT FEES

TOTAL BALANCE DUE UPON

1,958
14,081
13,162
14,010
14,362
13,125

13,500.

10,387

10,500.

RECEIPT

-00
-25
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151,045.25
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REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax ID# XX-XXXXXXX

W.R Grace & Co. Invoice Number 987247
One Town Center Road Invoice Date 11/25/02
Boca Raton, FL 33486 Client Number 172573

Re: W. R. Grace & Co.

(60030) Hearings

Fees 760.00

TOTAL BALANCE DUE UPON RECEIPT $ 760.00
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REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax ID# XX-XXXXXXX

W.R Grace & Co. Invoice Number 987247
One Town Center Road Invoice Date 11/25/02
Boca Raton, FL 33486 Client Number 172573

Matter Number 60030

Re: (60030) Hearings
FOR PROFESSIONAL SERVICES PROVIDED THROUGH OCTOBER 31, 2002

Date Name Hours

10/08/02 Bentz Review of transcript of hearing on 1.10
motion to compel.

10/16/02 Restivo Review of transcript of September 1.00
23 hearing and telephone
conference with J. Baer re same.

TOTAL HOURS 2.10
TIME SUMMARY Hours Rate ‘Value
James J. Restivo Jr. 1.00 at $ 430.00 = 430.00
James W Bentz 1.10 at $ 300.00 = 330.00
CURRENT FEES 760.00

TOTAL BALANCE DUE UPON RECEIPT $ 760.00
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REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax ID# XX-XXXXXXX

W. R. Grace Invoice Number 987246
5400 Broken Sound Blvd., N.W. Invoice Date 11/25/02
Boca Raton, FL 33487 Client Number 172573

Re: W. R. Grace & Co.

(60029) Fee Applications-Applicant

Fees 2,965.00

TOTAL BALANCE DUE UPON RECEIPT $.2,965.00
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REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax ID# XX-XXXXXXX

W. R. Grace Invoice Number 987246
5400 Broken Sound Blvd., N.W. Invoice Date 11/25/02
Boca Raton, FL 33487 Client Number 172573

Matter Number 60029

Re: (60029) Fee Applications-Applicant
FOR PROFESSIONAL SERVICES PROVIDED THROUGH OCTOBER 31, 2002

Date Name Hours

09/25/02 Keuler Reviewed correspondence received 20
regarding fee applications and
future requests and telephone call
to A. Muha re: same.

10/01/02 Lord Review and edit 14th Monthly Fee 3.20
Application (2.4); various e-mails
with P. Lykens re: same (.3);
prepare and perfect service of
same (.3); discuss same with R.
Keuler (.1); coordinate e-filing
of same (.1).

10/03/02 Keuler Reviewed e-mail messages from PGH -30
and fee auditor; composed
e-message re: new procedures.

10/03/02 Keuler Reviewed certificate of no 20
objection and met with J. Lord re:
filing and service of same.

10/03/02 Lord Research docket and draft CNO for 2.00
Reed Smith 13th Monthly Fee
Application (.6); discuss same
with R. Keuler (.2); prepare and
perfect service for same (.6);
e-file same (.3); prepare
correspondence to R. Finke at
Grace re: payment of same (.3).

10/09/02 Muha Discuss September DBRs for 20
incorporation into 15th Monthly
Fee Application with D. Cameron.
172573 W. R. Grace & Co.

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60029 Fee Applications-Applicant Page 2

November 25,

Date

10/10/02

10/14/02

10/15/02

10/16/02

10/17/02

10/18/02

10/18/02

10/21/02

10/22/02

10/24/02

10/28/02

Name

Lord

Keuler

Muha

Muha

Lord

Muha

Muha

Lord

Lord

Muha

2002

Reviewed e-messages from PGH and .30
drafted message to J. Lord re:

same (0.1). Telephone calls with

debtors' counsel re: questions

regarding hearings on fee

applications and e-message to PGH
regarding same (0.2).

Research and respond to D. 50
Cameron's e-correspondence re: fee
application CNOs and status.

Follow up regarding e-messages -30
from A. Muha (0.1). Telephone

call with opposing counsel (0.1).
Follow-up e-message to PGH (0.1).

Review and revise portion of DBR 1.00
for incorporation in 15th Monthly
Fee Application.

Review and revise portions of DBR 1.50
for incorporation into 15th
Monthly Fee Application.

Update 2002 service list. .20

Finish revisions of DBRs for 1.00
incorporation into 15th Monthly
Fee Application.

Develop and revise fee/expense 1.30
detail for 15th Monthly Fee
Application.

Research docket and draft CNO for 40
Reed Smith's August 2002 fee
application.

Research docket for objections to 50
Reed Smith's 14th Monthly Fee

Application (.2); prepare service

for same (.3).

Prepare fee and expense details -80
for final revisions for 15th
Monthly Fee Application (0.8).

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November 25,

10/29/02

10/29/02

10/30/02

10/31/02

10/31/02

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Muha

Muha

Lord

Muha

TIME SUMMARY

Andrew J. Muha

Richard A. Jr. Keuler

John B. Lord

2002

Invoice Number 987246
60029 Fee Applications-Applicant Page

Telephone call with Clerk's office
re: disk containting 2nd interim

fee application (.3); e-mail to D.
Cameron and A. Muha re: same (.2).

Prepare fee/expense details for
incorporation into 6th Quarterly
Fee Applications.

Gather information and prepare
summary spreadsheet for 6th
Quarterly Fee Application.

Review and revise 15th Monthly Fee
Application (1.2); Prepare e-mails
to/from P. Lykens re: same (.2);
prepare certificate of service for
same (.2).

Finalize materials to file 15th
Monthly Fee Application.

TOTAL HOURS

7.60 at $ 185.00 = 1,406.
1.30 at $ 240.00 = 312.
8.60 at $ 145.00 = 1,247.

CURRENT FEES

TOTAL BALANCE DUE UPON RECEIPT

3

-30

-20

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2,965.00
Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 57 of 82

REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax ID# XX-XXXXXXX

W.R Grace & Co. Invoice Number 987233
One Town Center Road Invoice Date 11/25/02
Boca Raton, FL 33486 Client Number 172573

Re: W. R. Grace & Co.

(60026) Litigation and Litigation Consulting

Expenses 3,825.84

TOTAL BALANCE DUE UPON RECEIPT $3,825.84
Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 58 of 82

REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax ID# XX-XXXXXXX

W.R Grace & Co.
One Town Center Road
Boca Raton, FL 33486

Invoice Number
Invoice Date

Client Number
Matter Number

987233
11/25/02
172573
60026

FOR

Litigation and Litigation Consulting

COSTS ADVANCED AND EXPENSES INCURRED:

Telephone Expense
Documentation Charge
Duplicating/Printing
Postage Expense
Express Mail Service
Courier Service
Outside Duplicating
Lodging

Air Travel Expense
Taxi Expense

Mileage Expense

Meal Expense
Telephone - Outside

CURRENT EXPENSES

31.
105.
474.

18.

46.
-00
1,309.
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496.
202.

21.
360.

36.

555

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35

TOTAL BALANCE DUE UPON RECEIPT

3,825.84
Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 59 of 82

REED SMITH LIP .
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax ID# XX-XXXXXXX

W.R Grace & Co. Invoice Number 987233
One Town Center Road Invoice Date 11/25/02
Boca Raton, FL 33486 Client Number 172573

Matter Number 60026

Re: (60026) Litigation and Litigation Consulting

FOR COSTS ADVANCED AND EXPENSES INCURRED:

07/22/02 Telephone Expense 6.76
08/20/02 fedex inv 8/13/02 9.17
08/27/02 fedex inv 8/21/02 12.99
09/10/02 Telephone Expense 9.25
09/17/02 518-283-7671/TROY, NY/2 ~L7
09/19/02 UPS WAYBILL 23.97
09/19/02 312-861-2162/CHICAGO, IL/13 ~74
09/23/02 302-778-7583/WILMINGTON, DE/5 34
09/23/02 561-362-1533/BOCA RATON, FL/6 -40
09/23/02 302-778-7583/WILMINGTON, DE/12 -68
09/24/02 561-362-1533/BOCA RATON, FL/32 1.88
09/24/02 212-252-9700/NEW YORK, NY/9 -51
09/24/02 212-252-9700/NEW YORK, NY/2 .i1
09/25/02 561-362-1533/BOCA RATON, FL/15 .86
09/25/02 215-851-8250/PHILA, PA/19 1.16
09/25/02 561-362-1533/BOCA RATON, FL/16 -97
09/26/02 724-387-1869/EXPORT, PA/3 . -21

09/26/02 212-252-9700/NEW YORK, NY/2 -i1
Case 01-01139-AMC Doc 3360-2

172573 W. R. Grace & Co.

60026 Litigation and Litigation Consulting

November 25, 2002

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ATTY # 3608; 54 COPIES
Courier Service UPS
404-881-1300/ATLANTA, GA/1
ATTY # 3593; 7 COPIES
ATTY # 0559: 64 COPIES
ATTY # 0559: 12 COPIES
ATTY # 0559: 141 COPIES
ATTY # 0559: 2 COPIES
ATTY # 0559: 110 COPIES
ATTY # 0559: 6 COPIES
724-387-1869/EXPORT, PA/10
ATTY # 0856: 1 COPIES

Courier Service UPS

ATTY # 0559; 31 COPIES
ATTY # 0718; 69 COPIES
ATTY # 0718; 138 COPIES
ATTY # 0718; 144 COPIES
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Postage Expense

Postage Expense
214-698-3868/DALLAS, TX/4

ATTY # 0559: 2 COPIES

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Invoice Number
Page 2

987233
172573 W. R. Grace & Co.
60026 Litigation and Litigation Consulting

Page

November 25, 2002

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10/04/02

302-652-5340/WILMINGTON, DE/22
412-288-4148/PITTSBURGH, PA/4

Air Travel Expense - DOUGLAS E. CAMERON TRIP TO
ATLANTA FOR DEPOSITION OF JAMES MILLETTE IN
COST RECOVERY ACTION 9/29-9/30/02

Meal Expense - - TRIP TO ATLANTA FOR DEPO OF
JAMES MILLETTE IN COST RECOVERY ACTION 9/29 2
LUNCHES

Lodging - Hotel tips on TRIP TO ATLANTA FOR
DEPO OF JAMES MILLETTE IN COST RECOVERY ACTION
9/29

Taxi Expense TRIP TO ATLANTA FOR DEPO OF JAMES
MILLETTE IN COST RECOVERY ACTION 9/29

Meal Expense - MEALS W/ R FINKE, K COGGON AND
CONSULTANTon 9/26 in PGH 2 LUNCHES

Taxi Expense -Transportation to MEALS W/ R
FINKE, K COGGEON AND CONSULTANT, 9/26 PGH

ATTY # 0559; 66 COPIES
ATTY # 0559; 154 COPIES
ATTY # 4197; 4 COPIES
ATTY # 0559; 210 COPIES
ATTY # 4197; 4 COPIES
ATTY # 0559; 14 COPIES
ATTY # 0559; 95 COPIES
ATTY # 0718; 5 COPIES
ATTY # 0718; 19 COPIES
ATTY # 0559: 2 COPIES
ATTY # 0710: 32 COPIES
Courier Service UPS

ATTY # 0396; 6 COPIES

Invoice Number

3

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987233

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172573 W. R. Grace & Co.
60026 Litigation and Litigation Consulting

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November 25, 2002

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ATTY # 0396; 3 COPIES

ATTY # 0559; 90 COPIES
724-325-1776/EXPORT, PA/3

Courier Service UPS

Courier Service UPS

ATTY # 0559; 44 COPIES

Courier Service parcels,inc inv 10/7/02
Courier Service parcels,inc inv 10/7/02
Meal Expense - DOUGLAS E. CAMERON, GRACE IN
HOUSE COUNSEL AND DEPONENT (RICH LEE) - LUNCH
DURING DEPOSITION BREAK

ATTY # 0710: 8 COPIES
561-362-1533/BOCA RATON, FL/9

ATTY # 0710: 27 COPIES

ATTY # 0710: 2 COPIES

ATTY # 0710: 10 COPIES

ATTY # 0710: 10 COPIES
215-851-8250/PHILA, PA/11
724-733-3838/EXPORT, PA/5

Postage Expense

ATTY # 0710: 10 COPIES
214-698-3868/DALLAS, TX/2
214-698-3868/DALLAS, TX/1

ATTY # 0559; 108 COPIES

ATTY # 0559; 12 COPIES

ATTY # 0559; 20 COPIES

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Invoice Number 987233
Page
172573 W. R. Grace & Co.

60026 Litigation and Litigation Consulting Page
November 25, 2002

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10/18/02

Meal Expense - TRIP TO ATLANTA FOR DEPOSITION
OF JAMES MILLETTE IN COST RECOVERY ACTION
09/29-9/30/02

Lodging - - DOUGLAS E. CAMERON TRIP TO ATLANTA
FOR DEPOSITION OF JAMES MILLETTE IN COST
RECOVERY ACTION 9/29-9/30/02

Telephone - Outside DOUGLAS E. CAMERON TRIP TO
ATLANTA FOR DEPOSITION OF JAMES MILLETTE IN
COST RECOVERY ACTION 9/29-9/30/02
561-362-1533/BOCA RATON, FL/1

Meal Expense: BREAKFASTON 9/19/02 (LAWRENCE E.
FLATLEY) for attendees at witness meeting - -
VENDOR: THE COVENTRY DELI

Meal Expense: LUNCH ON 9/19/02 (LAWRENCE E.
FLATLEY) for witness meeting - - VENDOR: THE
COVENTRY DELI

ATTY # 0349: 2 COPIES

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ATTY # 0349: 2 COPIES

ATTY # 0349; 28 COPIES

Meal Expense - MARK'S GRILLE & CATERING LUNCH
FOR MEETING WITH GRACE IN HOUSE COUNSEL,
COUNSEL FROM HRO AND EXPERT WITNESS IN COST
RECOVERY ACTION

Outside Duplicating - - VENDOR: PARCELS, INC.-D
DR

ATTY # 0559; 115 COPIES
561-362-1533/BOCA RATON, FL/4

Postage Expense

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Invoice Number 987233

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172573 W. R. Grace & Co.

60026 Litigation and Litigation Consulting Page
November 25, 2002

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ATTY # 0559; 16 COPIES

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ATTY # 0559; 5 COPIES

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ATTY # 0349: 32 COPIES

Documentation Charge - - VENDOR: PARCELS,
InNC.-D DR
Taxi Expense - -Petty Cash Custodian 9/19

Mileage Expense - 9/19 60 mi
ATTY # 0718: 3 COPIES

Outside Duplicating - IKON OFFICE SOLUTIONS,
INC. COPYING AND LABELING OF EXPERT RELIANCE
FILES FOR PRODUCTION TO THE EPA IN COST
RECOVERY ACTION

PACER USAGE FOR MONTH OF SEPTEMBER 2002 -
Documentation Charge - - VENDOR: PACER SERVICE
CENTER

ATTY # 0559: 2 COPIES
ATTY # 0559; 5 COPIES

Telephone - Outside - -DOUGLAS E. CAMERON
TELEPHONE CHARGES REGARDING MILLETTE DEPOSITION
IN COST RECOVERY ACTION

DOUGLAS E. CAMERON AMEX FEE FOR AIRLINE TICKET
- DENVER TRIP (9/18-20) FOR DEPOSITION THAT WAS
SUBSEQUENTLY MOVED TO ATLANTA IN THE COST
RECOVERY ACTION

DOUGLAS E. CAMERON AMEX FEE FOR AIRLINE TICKET
- TRAVEL TO ATLANTA (9/29-30) FOR DEPOSITION OF

6

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Invoice Number 987233

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Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 65 of 82

172573 W. R. Grace & Co.
60026 Litigation and Litigation Consulting

November 25,

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2002

JAMES MILLETTE IN COST RECOVERY ACTION

ATTY # 0718; 33 COPIES

561-362-1533/BOCA RATON, FL/13

561-362-1533/BOCA RATON, FL/16

Documentation charge -PACER SERVICE CENTER
PACER NET TRANSACTIONS (7/1/02-9/30/02)-
Downloading Grace Docket entries

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Invoice Number 987233

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Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 66 of
172573 W. R. Grace & Co. Invoice Number
60026 Litigation and Litigation Consulting Page 8
November 25, 2002

10/29/02 ATTY # 0856: 3 COPIES

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10/30/02 ATTY # 0887; 99 COPIES 14
10/30/02 ATTY # 0559; 113 COPIES 16
10/30/02 ATTY # 0349; 34 COPIES 5.
10/30/02 ATTY # 0885: 2 COPIES

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10/31/02 Postage Expense 1.
‘10/31/02 Postage Expense 1.
10/31/02 ATTY # 0349; 18 COPIES 2
10/31/02 ATTY # 0559; 18 COPIES 2
10/31/02 ATTY # 0559; 15 COPIES 2
10/31/02 ATTY # 0349; 348 COPIES 52.
10/31/02 214-698-3868/DALLAS, TX/2

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10/31/02 ATTY # 0559: 12 COPIES

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10/31/02 ATTY # 0559: 23 COPIES 3

82

987233

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Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 67 of 82

172573 W. R. Grace & Co. Invoice Number 987233
60026 Litigation and Litigation Consulting Page 9
November 25, 2002

10/31/02 ATTY # 0559: 5 COPIES -75
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10/31/02 ATTY # 0559: 5 COPIES 275
10/31/02 ATTY # 0559: 5 COPIES -75
10/31/02 ATTY # 0559: 3 COPIES -45
10/31/02 ATTY # 0559: 15 COPIES 2.25
10/31/02 ATTY # 0349: 21 COPIES 3.15
10/31/02 ATTY # 0559: 4 COPIES -60
CURRENT EXPENSES 3,825.84

TOTAL BALANCE DUE UPON RECEIPT $ 3,825.84
Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 68 of 82

REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax IDH# XX-XXXXXXX

W. R. Grace
5400 Broken Sound Blvd.,
Boca Raton, FL 33487

N.W.

Invoice Number
Invoice Date
Client Number

987235
11/25/02
172573

Re: W. R. Grace & Co.

(60028)

ZAT Science Trial

Expenses

TOTAL

30,558.85

BALANCE DUE UPON RECEIPT

$ 30,558.85
Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 69
REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax ID# XX-XXXXXXX
W. R. Grace Invoice Number
5400 Broken Sound Blvd., N.W. Invoice Date
Boca Raton, FL 33487 Client Number
Matter Number
Re: ZAI Science Trial
FOR COSTS ADVANCED AND EXPENSES INCURRED:
Telephone Expense 2.23
Duplicating/Printing 146.55
Postage Expense 5.55
Courier Service 32.84
Outside Duplicating 25,443.70
Secretarial Overtime 4,897.50
Transportation 3.00
Mileage Expense 16.04
Meal Expense 11.44
CURRENT EXPENSES

TOTAL BALANCE DUE UPON RECEIPT

of 82

987235
11/25/02
172573
60028

30,558.85
Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 70 of 82

REED SMITH LLP
PO Box 360074M
Pittsburgh, PA 15251-6074
Tax ID# XX-XXXXXXX

W. R. Grace Invoice Number 987235
5400 Broken Sound Blvd., N.W. Invoice Date 11/25/02
Boca Raton, FL 33487 Client Number 172573

Matter Number 60028

Re: (60028) ZAI Science Trial

FOR COSTS ADVANCED AND EXPENSES INCURRED:

09/18/02 215-851-8232/PHILA, PA/15 .87
09/19/02 215-851-8232/PHILA, PA/2 12
09/23/02 Secretarial Overtime : Input coding data into 585.00

document database for completion of
paraprofessionals document coding project, as
part of compliance with document production

schedule.
09/23/02 215-851-8232/PHILA, PA/2 ~12
09/27/02 215-851-8232/PHILA, PA/3 ~17
09/28/02 Secretarial Overtime : Input coding data into 240.00

document database for completion of
paraprofessionals document coding project, as
part of compliance with document production
schedule.

09/30/02 Secretarial Overtime : Input coding data into 472.50
document database for completion of
paraprofessionals document coding project, as
part of compliance with document production

schedule.
10/01/02 410-727-1115/BALTIMORE, MD/1 -11
10/01/02 410-727-1115/BALTIMORE, MD/1 -12
10/02/02 ATTY # 0885: 1 COPIES -15
10/02/02 ATTY # 0885: 2 COPIES -30

10/02/02 ATTY # 0885: 3 COPIES -45
Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 71 of 82

172573 W. R. Grace & Co. Invoice Number 987235
60028 ZAI Science Trial Page 2

November 25, 2002

10/02/02 ATTY # 0885: 1 COPIES -15
10/02/02 ATTY # 0885: 2 COPIES -30
10/04/02 ATTY # 0856: 1 COPIES 15
10/04/02 ATTY # 0710: 4 COPIES -60
10/07/02 Mileage Expense - - S HELBLING for support 8.02

work re: paraprofessional document coding

project
10/07/02 Meal Expense - - S HELBLING - LUNCH for support 6.41

work re: paraprofessional document coding

project
10/07/02 ATTY # 0856; 16 COPIES 1.60
10/07/02 ATTY # 0710; 20 COPIES 3.00
10/07/02 ATTY # 0885: 1 COPIES -15
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172573 W. R. Grace & Co.

60028 ZAI Science Trial Page
November 25, 2002

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ATTY # 0856: 5 COPIES

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ATTY # 0885; 5 COPIES

Secretarial Overtime : Input coding data into
document database for completion of
paraprofessionals document coding project, as
part of compliance with document production
schedule.

Outside Duplicating - CLICKS PROFESSIONAL COPY
SERV. IMAGE PRINTING of documents for
paraprofessionals doucument coding project to
comply with court's schedule for production of
documents to ZAI claimaints

ATTY # 0885: 3 COPIES

ATTY # 0856: 4 COPIES

ATTY # 0856: 5 COPIES

ATTY # 1398; 121 COPIES

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Outside Duplicating - CLICKS PROFESSIONAL COPY
SERV. IMAGE PRINTING of documents for
paraprofessionals doucument coding project to
comply with court's schedule for production of
documents to ZAI claimants

Postage Expense

Courier Service FEDEX

ATTY # 0885: 1 COPIES

ATTY # 0885: 3 COPIES

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Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 72 of 82

Invoice Number 987235

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Case 01-01139-AMC Doc 3360-2 Filed 02/10/03 Page 73 of 82

172573 W. R. Grace & Co.
60028 ZAI Science Trial
November 25, 2002

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ATTY # 0856: 5 COPIES
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ATTY # 0856: 12 COPIES
ATTY # 0856: 7 COPIES
ATTY # 0856: 7 COPIES
Transportation - -

coding project

S HELBLING

Invoice Number 987235

Page

~ PARKING for
support work re: paraprofessional document

Meal Expense - - S HELBLING - LUNCH for support

work re: paraprofessional document coding

project

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10/14/02 Mileage Expense - - S HELBLING - MILEAGE for 8.02
support work re: paraprofessional document
coding project

10/14/02 ATTY # 0856; 5 COPIES -75

10/15/02 Secretarial Overtime : Input coding data into 262.50
document database for completion of
paraprofessionals document coding project, as
part of compliance with document production
schedule.

10/15/02 Secretarial Overtime : Input coding data into 277.50
document database for completion of
paraprofessionals document coding project, as
part of compliance with document production

schedule.
10/15/02 303-866-0408/DENVER, CO/2 -11
10/15/02 ATTY # 1847: 18 COPIES 2.70
10/16/02 ATTY # 0885: 3 COPIES 45
10/16/02 ATTY # 0885: 3 COPIES -45
10/16/02 ATTY # 0885: 3 COPIES -45
10/16/02 ATTY # 0885: 3 COPIES 45
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10/16/02 ATTY # 0856: 2 COPIES -30
10/16/02 ATTY # 0885; 4 COPIES -60
10/17/02 ATTY # 0856: 4 COPIES -60
10/17/02 617-426-0135/BOSTON, MA/2 .11
10/18/02 Postage Expense 37
10/18/02 Postage Expense 37
10/18/02 Postage Expense .37
10/18/02 Postage Expense -37

10/18/02 Postage Expense .37
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172573 W. R. Grace & Co.

60028

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November 25, 2002

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document database for completion of
paraprofessionals document coding project, as
part of compliance with document production

schedule.

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Secretarial Overtime
document database for completion of
paraprofessionals document coding project, as
part of compliance with document production

schedule.

Postage Expense

ATTY # 0885;

ATTY # 0710;

21 COPIES

234 COPIES

Input coding data into

Filed 02/10/03 Page 75 of 82

Invoice Number
Page 6

-75

Input coding data into 150.00

45

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172573 W. R. Grace & Co.

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November 25, 2002

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Courier Service UPS

Secretarial Overtime : Input coding data into
document database for completion of
paraprofessionals document coding project, as
part of compliance with document production
schedule.

Secretarial Overtime : Input coding data into
document database for completion of
paraprofessionals document coding project, as
part of compliance with document production
schedule.

Outside Duplicating - - VENDOR: CLICKS
PROFESSIONAL COPY SERV. IMAGE PRINTING of
documents for paraprofessionals document coding
project to comply with court's schedule for
production of documents to ZAI claimants.

Outside Duplicating - - VENDOR: CLICKS
PROFESSIONAL COPY SERV. DIGITAL PRINTING of
documents for paraprofessionals document coding
project to comply with court's schedule for
production of documents to ZAI claimants

Outside Duplicating - - VENDOR: CLICKS
PROFESSIONAL COPY SERV.-Printing of Documents
for Paraprofessionais review and coding project
to ZAI claimants .

ATTY # 0885: 1 COPIES

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Invoice Number 987235

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November 25, 2002

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10/24/02 Postage Expense

10/24/02 ATTY # 0885: 2 COPIES

10/24/02 ATTY # 0885: 3 COPIES

10/24/02 ATTY # 0885: 1 COPIES

10/24/02 ATTY # 1911: 2 COPIES

10/24/02 ATTY # 0885: 2 COPIES

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10/24/02 ATTY # 0885: 2 COPIES

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10/24/02 ATTY # 0885: 2 COPIES

10/24/02 ATTY # 0885; 6 COPIES

10/25/02 Outside Duplicating - ~-~ VENDOR: DITTO DOCUMENT
SERVICES, INC. printing of documents for
paraprofessionals document coding project to
comply with court's schedule for production of
documents to ZAI claimants

10/25/02 ATTY # 0856: 1 COPIES

10/25/02 ATTY # 0885; 93 COPIES

10/27/02 Secretarial Overtime : Input coding data into
document database for completion of
paraprofessionals document coding project, as
part of compliance with document production
schedule.

10/28/02 302-652-5338/WILMINGTON, DE/8

10/28/02 ATTY # 0885; 92 COPIES

10/28/02 ATTY # 0885; 23 COPIES

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Invoice Number 987235

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172573 W. R. Grace & Co. Invoice Number
60028 ZAI Science Trial Page 9
November 25, 2002

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ATTY # 0885; 4 COPIES

Courier Service FEDEX 9
Secretarial Overtime : Input coding data into 555.

document database for completion of
paraprofessionals document coding project, as
part of compliance with document production
schedule.

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Outside Duplicating - - VENDOR: CLICKS 2227
PROFESSIONAL COPY SERV. PRINTS of documents

for paraprofessionals document coding project

to comply with court's schedule for production

of documents to ZAI claimants

Outside Duplicating - - VENDOR: CLICKS 3163
PROFESSIONAL COPY SERV. PRINTS of documents

for paraprofessionals document coding project

to comply with court's schedule for production

of documents to ZAI claimants

Secretarial Overtime : Input coding data into 562
document database for completion of

paraprofessionals document coding project, as

part of compliance with document production

schedule to ZAI claimants

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ATTY # 1911; 85 COPIES 8.

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10/31/02 Postage Expense 37

CURRENT EXPENSES 30,558.85

TOTAL BALANCE DUE UPON RECEIPT $ 30,558.85
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11

)
W. R. GRACE & CO., et al.,' ) Case No. 01-01139 GKF)

) Gointly Administered)

)
Debtors j

‘ CERTIFICATE OF SERVICE

I, Richard A. Keuler, Jr., certify that Iam over 18 years of age and that on this 29th day of

~ November, 2002, I caused a true and correct copy of the Summary of Application of Reed Smith LLP for
Compensation for Services and Reimbursement of Expenses as Special Asbestos Liability Defense
Counsel to Debtors for the Sixteenth Monthly Interim Period from October 1, 2002 Through

October 31, 2002 (with attached Fee and Expense Detail) to be served upon the parties on the attached

service list in the manner indicated.

/s/ Richard A. Keuler, Jr.
Richard A. Keuler, Jr. (No. 4108)
REED SMITH LLP

1201 Market Street, Suite 1500
Wilmington, DE 19801

Phone: (302) 778-7500
Facsimile: (302) 778-7575
E-mail: rkeuler@reedsmith.com

Special Asbestos Product Liability Defense
Counsel

1 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn., A-1 Bit
& Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc.,
Coalgrace, Inc., Coalgrace IL, Inc., Creative Food ©N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a
Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G.-C
Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B Tl Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling
Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G If Inc., Grace Hotel Services
Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R.
Grace Land Corporation, Gracoal, Inc., Gracoal I, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco
International, Inc., Kootenai Development Company, LB Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc.,
Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation),
MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street
Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West Coal Company, H-G Coal-Company.
Case 01-01139-AMC Doc 3360-2 Filed 02/10/03
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VIA FIRST CLASS MAIL AND ELECTRONIC MAIL

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